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   19
                                   UNITED STATES DISTRICT COURT

   20
                               CENTRAL DISTRICT OF CALIFORNIA

   21                                            Case No. EDCV14-2171-JGB-SP
   22   DAN MCKIBBEN, et al.,                    [Hon. Jesus G. Bernal]
   23                   Plaintiffs,              ORDER RE: FILING OF LATE
        vs.                                      CLAIM BY DAMIAN LIGGINS
   24
   25   JOHN MCMAHON, et al.,                    [Filed concurrently with unopposed
                                                 ex parte application].
   26                   Defendants
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   28
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    1         GOOD CAUSE APPEARING THEREFORE, based on Plaintiffs’
    2   unopposed Ex Parte Application for the late filing of the claim of Damian Rohan
    3   Pate Liggins, and no objections having been raised, the application is therefore
    4   GRANTED.
    5         IT IS HEREBY ORDERED that Damian Rohan Pate Liggins be deemed to
    6
        have filed a timely claim.
    7
    8
        Dated: February 14, 2019               _______________________________
    9                                          Hon. Jesus G. Bernal
   10                                          United States District Judge

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   13   Prepared by:
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        /S/DAVID S. McLANE
   16   Counsel for Plaintiffs
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